 Case 2:23-cr-00012-RJJ-MV ECF No. 14, PageID.25 Filed 11/15/23 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION

UNITED STATES OF AMERICA,                                 Case No. 2:23-cr-12

                   Plaintiff,                             Hon. Robert J. Jonker
                                                          U.S. District Judge
      v.

MATTHEW JOSEPH SHEEHAN,

                   Defendant.
                                             /

                             ORDER FOR DETENTION

      Defendant Sheehan appeared before the undersigned for an arraignment on

an   indictment   charging      him   with       possession   with   intent   to   distribute

methamphetamine. Defense counsel reserved the issue of detention in this case and

may request a hearing regarding detention in the future.

      IT IS HEREBY ORDERED that Defendant shall remain detained pending

further proceedings.

      IT IS SO ORDERED.


Dated: November 15, 2023                   /s/ Maarten Vermaat
                                         MAARTEN VERMAAT
                                         U.S. MAGISTRATE JUDGE
